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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF CONNECTICUT


HENRY LAVIOLETTE, et al.                     )       No. 3:17-cv-02119-SRU
          Plaintiffs,                        )
Vs.                                          )
                                             )
CBS CORP., et al.,                           )
            Defendants.                      )       September 26, 2019


                    MOTION AND ORDER OF DISMISSAL
                    OF ALL PARTIES WITH PREJUDICE

       Plaintiffs’ counsel, Early, Lucarelli, Sweeney & Meisenkothen, LLC, hereby

submit to the Court the plaintiff’s desire to dismiss all remaining Defendants from

their respective cause, with prejudice. Accordingly, Plaintiff’s move for an entry of

order dismissing all remaining defendants with prejudice.
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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF CONNECTICUT


HENRY LAVIOLETTE, et al.                   )      No. 3:17-cv-02119-SRU
          Plaintiffs,                      )
Vs.                                        )
                                           )
CBS CORP., et al.,                         )
            Defendants.                    )      September 26, 2019



                                    ORDER

       The Court, having considered the Plaintiff’s Motion and Order of Dismissal

is hereby granted/denied.
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                                  Respectfully submitted,
                                  THE PLAINTIFFS




                                  _s/ Christopher Meisenkothen Esq.__
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                                  Federal Bar # ct20906
                                  Early, Lucarelli, Sweeney &
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                                    Certificate of Service


I hereby certify that on September 26, 2019 a copy of foregoing Plaintiffs’ Motion

and Order of Dismissal was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s System.



                                               _s/ Christopher Meisenkothen, Esq.__
                                               Christopher Meisenkothen, Esq.
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